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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 MARISSA COLLINS, on her own behalf, and on
 behalf of all others similarly situated, and JAMES
 BURNETT, on behalf of his son, and on behalf of             Case No. 2:20-cv-1969
 all others similarly situated,

                     Plaintiffs,
 v.

 ANTHEM, INC. and ANTHEM UM SERVICES,
 INC.,

                     Defendants.



                                   CLASS ACTION COMPLAINT

         Plaintiff Marissa Collins, on her own behalf and on behalf of all others similarly situated,

and Plaintiff James Burnett, on behalf of his son and on behalf of all others similarly situated,

complain as follows against Defendants Anthem, Inc. and Anthem UM Services, Inc. (collectively,

“Anthem” or “Defendants”).

                                        INTRODUCTION

         1.     This case arises from Defendants’ development, adoption, and use of certain

clinical coverage criteria for determining whether residential treatment of mental health conditions

is “medically necessary,” as that term is defined in the written terms of the employer-sponsored

welfare benefit plans that Defendants administer. Those plans define medical necessity to mean,

at least in part, that services are consistent with generally accepted standards of medical practice.

Yet, Anthem’s medical necessity criteria for residential mental health treatment are far more

restrictive than those generally accepted standards. As such, Defendants’ development, adoption,

and use of these criteria violate the written terms of those plans and Anthem’s fiduciary duties
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under the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq.

       2.      Defendants’ development, adoption, and use of these criteria also violated their

duties under the Paul Wellstone and Pete Domenici Mental Health and Addiction Equity Act of

2008 (“MHPAEA”), which was incorporated into ERISA. By applying more restrictive coverage

criteria to behavioral health insurance claims, such as Plaintiffs’, than they apply to comparable

medical/surgical insurance claims, Defendants also violated their duty to comply with MHPAEA.

                                        THE PARTIES

       3.      Plaintiff Marissa Collins is a resident of New York. Since May 2019, Ms. Collins

has been a beneficiary of the ADP Total Source Plan (the “Collins Plan”), which is sponsored by

Ms. Collins’s husband’s employer and issued by Empire Healthchoice Assurance, Inc., a wholly-

owned and controlled subsidiary of Defendant Anthem, Inc.

       4.      Plaintiff James Burnett and his son are residents of Maine. From January 2018

through August 2019, Mr. Burnett was a participant in, and his son was a beneficiary of, the Maine

Education Association Benefits Trust Health Plan (the “first Burnett Plan”), which was sponsored

by Plaintiff Burnett’s then-employer and issued by Anthem Health Plans of Maine, Inc., a wholly-

owned and controlled subsidiary of Defendant Anthem, Inc. Since September 2019, Plaintiff

Burnett has been a participant in, and his son a beneficiary of, the Learning Skills Academy Plan

(the “second Burnett Plan”), which is sponsored by Mr. Burnett’s current employer and issued by

Anthem Health Plans of New Hampshire, Inc., a wholly-owned and controlled subsidiary of

Defendant Anthem, Inc. Plaintiff Burnett has been designated as his son’s agent pursuant to a

Power of Attorney.

       5.      Defendant Anthem, Inc. is headquartered in Indianapolis, Indiana. According to its

website, “Anthem, Inc. is an independent licensee of the Blue Cross and Blue Shield Association




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serving members in California, Colorado, Connecticut, Georgia, Indiana, Kentucky, Maine,

Missouri, Nevada, New Hampshire, New York, Ohio, Virginia and Wisconsin; and specialty plan

members in other states.” Anthem, Inc. wholly owns and controls Empire Healthchoice Assurance,

Inc., Anthem Health Plans of Maine, Inc., and Anthem Health Plans of New Hampshire, Inc.,

which insure the Collins Plan and the first and second Burnett Plans, respectively.

        6.       Anthem, Inc.’s Office of Medical Policy & Technology Assessment (“OMPTA”)

and its Medical Policy & Technology Assessment Committee (“MPTAC”), are responsible for

developing and authorizing coverage guidelines and clinical utilization management guidelines for

use by Anthem’s commercial health plans across the country, including the medical necessity

criteria at issue in this litigation.

        7.       Defendant Anthem UM Services, Inc. (“Anthem UM”), which is wholly-owned

and controlled by Defendant Anthem, Inc., is also headquartered in Indianapolis, Indiana. Anthem

UM makes final and binding coverage determinations, including medical necessity determinations,

for Anthem’s commercial health plans, such as those which cover Plaintiffs, based on the coverage

and utilization management guidelines developed and authorized by Anthem, Inc.

        8.       From July 26, 2013 through November 5, 2018, Anthem UM systematically applied

Anthem, Inc.’s internally-developed guidelines to make medical necessity determinations for

residential mental health treatment of children and adults. As of November 5, 2018, Anthem, Inc.

abandoned its internally-developed medical necessity criteria in favor of criteria licensed from a

for-profit publisher, MCG Health, LLC (“MCG”). Since then, Anthem UM has systematically

applied the MCG Guidelines for Residential Behavioral Health Level of Care (the “MCG RTC

Guidelines”) described in this Complaint to render medical necessity determinations concerning

residential treatment for mental health conditions, including the determinations at issue in this




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case.

                                JURISDICTION AND VENUE

        9.     Subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331.

        10.    Personal jurisdiction exists over Defendants, and this District is the proper venue,

because Plaintiff Collins resides in this District and because Defendant Anthem, Inc. authorizes

clinical coverage guidelines for use by Anthem UM, which routinely conducts final and binding

utilization reviews of mental health claims submitted by Anthem insureds who reside in this

District.

                                   FACTUAL BACKGROUND

I.      Plaintiffs’ Health Plans

        11.    The Collins Plan and both the first and second Burnett Plans are governed by

ERISA.

        12.    Marissa Collins has been a beneficiary of the Collins Plan since May 2019.

        13.    James Burnett was a participant in the first Burnett Plan from January 2018 through

August 2019, and his son was a beneficiary of the first Burnett Plan from January 2018 through

August 2019. Since September 2019, Plaintiff Burnett has been a participant in and his son a

beneficiary of the second Burnett Plan.

        14.    The Collins Plan and both Burnett Plans cover medical/surgical services as well as

services for mental health and substance use disorders, including residential treatment.

        15.    Under the terms of the Collins Plan and both the first and second Burnett Plans, a

key condition of coverage for any claim, regardless of whether it is for treatment of a

medical/surgical condition or a mental health and/or substance use condition, is that services for

which coverage is sought must be “medically necessary.” The Collins Plan defines “medically

necessary” services to mean services that are, among other things, “provided in accordance with


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generally-accepted standards of medical practice.” Both the first and second Burnett Plans define

“medically necessary” services to mean services that are, among other things, “consistent with

generally accepted standards of medical practice.” Thus, all of the Plaintiffs’ plans require, as one

essential condition for coverage, that the services for which coverage is requested must be

consistent with generally accepted standards of medical practice.

II.      Defendants’ Fiduciary Roles

         16.   At all times relevant to the Complaint, Anthem, Inc. has been responsible for the

development and approval of clinical policies and coverage guidelines that interpret the terms of

its subsidiaries’ health plans. One such guideline, Anthem’s Coverage Guideline ADMIN.00004,

entitled “Medical Necessity Criteria,” has been in effect since at least 2005. Coverage Guideline

ADMIN.00004 operationalized a company-wide definition of “medically necessary” to mean

health care services that are, among other things, “in accordance with generally accepted standards

of medical practice.” The guideline further states that “‘generally accepted standards of medical

practice’ means standards that are based on credible scientific evidence published in peer-reviewed

medical literature generally recognized by the relevant medical community, national physician

specialty society recommendations and the views of medical practitioners practicing in relevant

clinical areas and any other relevant factors.”

         17.   Anthem, Inc.’s Coverage Guideline ADMIN.00001, entitled “Coverage Guideline

Formation,” which has been in effect since at least 2001, currently states that “[t]to reach decisions

regarding the medical necessity or investigational status of new or existing services and/or

procedures, MPTAC (and its applicable subcommittees) relies on the medical necessity or

investigational criteria included in ADMIN.00004 Medical Necessity Criteria.” Coverage

Guideline ADMIN.00001 further states that the MPTAC “is also responsible for reviewing and

authorizing the use of Coverage Guidelines used in making determinations of medical necessity


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or investigational determinations which are developed by external entities (for example, MCG care

guidelines or InterQual® criteria).”

       18.     Thus, pursuant to Coverage Guidelines ADMIN.00001 and ADMIN.00004,

MPTAC (and/or its subcommittees) developed Clinical UM Guideline CG-BEH-03 regarding

“Psychiatric Disorder Treatment.” Anthem’s Clinical UM Guideline CG-BEH-03 was in effect

from July 26, 2013 through November 5, 2018, and established company-wide medical necessity

criteria for residential mental health treatment. For the reasons described below, these criteria were

inconsistent with generally accepted standards of medical practice.

       19.     Pursuant to Coverage Guideline ADMIN.00001 and Coverage Guideline

ADMIN.00004, MPTAC subsequently authorized company-wide use of the MCG RTC

Guidelines from November 5, 2018 through the present for residential mental health treatment.

For the reasons described below, these criteria were and are also inconsistent with generally

accepted standards of medical practice.

       20.     Utilization management of mental health claims under Plaintiffs’ health plans has

been delegated to Anthem UM, which makes final and binding medical necessity determinations

for Anthem, Inc.’s subsidiary health plans. When rendering such medical necessity determinations,

Anthem UM necessarily evaluates whether services for which coverage is sought are consistent

with generally accepted standards of medical practice. In doing so, Anthem UM systemically

applies the coverage guidelines and medical policies developed and approved by Anthem, Inc.,

including Clinical UM Guideline CG-BEH-03 and the MCG RTC Guidelines. Because it has

systematically relied on defective medical necessity criteria that were and continue to be far more

restrictive than generally accepted standards of medical practice, however, Anthem UM could not

reasonably make such determinations. Any benefit denials based on these flawed guidelines were




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inherently unreasonable.

III.   Generally Accepted Standards of Medical Practice

       21.     Generally accepted standards of medical practice, in the context of mental health

and substance use disorder services, are standards that have achieved widespread acceptance

among behavioral health professionals. The generally accepted medical standards at issue in this

case do not vary state-by-state.

       22.     In the area of mental health and substance use disorder treatment, there is a

continuum of intensity at which services are delivered. There are generally accepted standards of

medical practice for matching patients with the level of care that is most appropriate and effective

for treating patients’ conditions. These generally accepted standards of medical practice are

described in multiple sources, including consensus guidelines from professional organizations and

guidelines and materials distributed by government agencies, such as: (a) the American

Association of Community Psychiatrists’ (“AACP’s”) Level of Care Utilization System

(“LOCUS”); (b) the Child and Adolescent Level of Care Utilization System (“CALOCUS”)

developed by AACP and the American Academy of Child and Adolescent Psychiatry (“AACAP”),

and the Child and Adolescent Service Intensity Instrument (“CASII”), which was developed by

AACAP in 2001 as a refinement of CALOCUS; (c) AACAP’s Principles of Care for Treatment of

Children and Adolescents with Mental Illnesses in Residential Treatment Centers; (d) the

Medicare Benefit Policy Manual issued by the Centers for Medicare and Medicaid Services; (e) the

American Psychiatric Association (“APA”)’s Practice Guidelines for the Treatment of Patients

with Eating Disorders, Third Edition; (f) the American Society of Addiction Medicine (“ASAM”)

Criteria; and (g) the APA Practice Guidelines for the Treatment of Patients with Substance Use

Disorders, Second Edition.

       23.     Generally accepted standards of medical practice for matching patients with the


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level of care that is most appropriate and effective for treating patients’ mental health conditions

and substance use disorders include the following:

               (a)     First, many mental health and substance use disorders are long-term and

       chronic. While current or acute symptoms are typically related to a patient’s chronic

       condition, it is generally accepted in the behavioral health community that effective

       treatment of individuals with mental health or substance use disorders is not limited to the

       alleviation of the current or acute symptoms. Rather, effective treatment requires treatment

       of the chronic underlying condition as well.

               (b)     Second, many individuals with behavioral health diagnoses have multiple,

       co-occurring disorders. Because co-occurring disorders can aggravate each other, treating

       any of them effectively requires a comprehensive, coordinated approach to all of the

       individual’s conditions. Similarly, the presence of a co-occurring medical condition is an

       aggravating factor that may necessitate a more intensive level of care for the patient to be

       effectively treated.

               (c)     Third, in order to treat patients with mental health or substance use

       disorders effectively, it is important to “match” them to the appropriate level of care. The

       driving factors in determining the appropriate treatment level should be safety and

       effectiveness. Placement in a less restrictive environment is appropriate only if it is likely

       to be safe and just as effective as treatment at a higher level of care.

               (d)     Fourth, when there is ambiguity as to the appropriate level of care,

       generally accepted standards call for erring on the side of caution by placing the patient in

       a higher level of care. Research has demonstrated that patients who receive treatment at a

       lower level of care than is clinically appropriate face worse outcomes than those who are




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   treated at the appropriate level of care. On the other hand, there is no research that

   establishes that placement at a higher level of care than clinically indicated results in an

   increase in adverse outcomes.

              (e)   Fifth, while effective treatment may result in improvement in the patient’s

   level of functioning, it is well-established that effective treatment also includes treatment

   aimed at preventing relapse or deterioration of the patient’s condition and maintaining the

   patient’s level of functioning.

              (f)   Sixth, the appropriate duration of treatment for behavioral health disorders

   is based on the individual needs of the patient; there is no specific limit on the duration of

   such treatment. Similarly, it is inconsistent with generally accepted standards of medical

   practice to require discharge as soon as a patient becomes unwilling or unable to participate

   in treatment.

              (g)   Seventh, one of the primary differences between adults, on the one hand,

   and children and adolescents, on the other, is that children and adolescents are not fully

   “developed,” in the psychiatric sense. The unique needs of children and adolescents must

   be taken into account when making level of care decisions involving their treatment for

   mental health or substance use disorders. One of the ways practitioners should take into

   account the developmental level of a child or adolescent in making treatment decisions is

   by relaxing the threshold requirements for admission and continued service at a given level

   of care.

              (h)   Eighth, the determination of the appropriate level of care for patients with

   mental health and/or substance use disorders should be made on the basis of a

   multidimensional assessment that takes into account a wide variety of information about




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       the patient. Except in acute situations that require hospitalization, where safety alone may

       necessitate the highest level of care, decisions about the level of care at which a patient

       should receive treatment should be made based upon a holistic, biopsychosocial assessment

       that involves consideration of multiple dimensions.

       24.     As functional ERISA fiduciaries, one of Defendants’ fiduciary duties is to apply

due care in interpreting benefit plans, including when developing and/or selecting the criteria they

will use to make determinations about whether requested services are consistent with generally

accepted standards of medical practice and thus medically necessary.

       25.     When Anthem, Inc. developed Clinical UM Guideline CG-BEH-03 and

subsequently adopted the MCG RTC Guidelines for Anthem UM to use in making medical

necessity decisions under the Plaintiffs’ and class members’ benefit plans, Anthem, Inc. had access

to the independent, publicly available sources referenced above, which describe generally accepted

standards of medical practice for behavioral healthcare. In the exercise of due care, Anthem, Inc.

thus knew, or should have known, what the generally accepted standards of medical practice

actually were and continue to be. Likewise, in making discretionary determinations about medical

necessity under Plaintiffs’ and class members’ benefit plans, Anthem UM also knew, or should

have known, what the generally accepted standards of medical practice for behavioral healthcare

actually were and continue to be.

IV.    Anthem Clinical UM Guideline CG-BEH-03 Was Inconsistent
       with Generally Accepted Standards of Medical Practice

       26.     In effect from July 26, 2013 through November 5, 2018, Anthem’s Clinical UM

Guideline CG-BEH-03 provided “medical necessity criteria for levels of care relating to

psychiatric disorder treatment,” including residential treatment.

       27.     Although year after year, Clinical UM Guideline CG-BEH-03 included the same



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footnote citations to peer-reviewed medical literature and physician specialty society

recommendations that purportedly substantiated the guideline’s medical necessity criteria for

residential treatment, in reality, the cited sources did not support the actual criteria that Anthem,

Inc. had created. At the same time, Anthem, Inc. conspicuously failed to reference far more

contemporaneous and relevant sources (such as LOCUS and CASII/CALOCUS) that specifically

reflect generally accepted standards of medical practice for patient placement selection.

Unsurprisingly, the resulting residential mental health criteria in Anthem’s Clinical UM Guideline

CG-BEH-03 were inconsistent with generally accepted standards of medical practice for the

treatment of behavioral health disorders, as explained below.

       28.     Anthem, Inc. devised medical necessity criteria for evaluating residential mental

health treatment that were more restrictive than generally accepted standards, including by

improperly heightening the relevance of acute behavioral health symptoms while minimizing the

relevance of non-acute behavioral health symptoms and conditions—that is, chronic mental health

conditions and symptoms that are persistent and/or pervasive and could not necessarily be

effectively treated with short-term doses of residential treatment.

       29.     For example, as of April 25, 2018, Anthem’s Clinical UM Guideline CG-BEH-03

included criteria in two categories—Severity of Illness and Continued Stay. For admission to

residential treatment, each of the Severity of Illness criteria, describing a member’s condition and

circumstances, had to be met. These included independent satisfaction of all of the following:

       (a)     The member is manifesting symptoms and behaviors which represent a

       deterioration from the member’s usual status and include either self injurious or risk

       taking behaviors that risk serious harm and cannot be managed outside of a 24 hour

       structured setting or other appropriate outpatient setting; and




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       (b)     The social environment is characterized by temporary stressors or limitations that

       would undermine treatment that could potentially be improved with treatment while the

       member is in the residential facility; and

       (c)     There should be a reasonable expectation that the illness, condition or level of

       functioning will be stabilized and improved and that a short term, subacute residential

       treatment service will have a likely benefit on the behaviors/symptoms that required this

       level of care, and that the member will be able to return to outpatient treatment; and

       (d)     Member’s clinical condition is of such severity that an evaluation by physician or

       other provider with prescriptive authority is indicated at admission and weekly thereafter.

(emphasis added).

       30.     Clinical UM Guideline CG-BEH-03 further required that, “For continued

authorization of the requested service, Continued Stay criteria must be met along with Severity of

Illness criteria.” That is, for coverage to continue after admission, all of the Severity of Illness

criteria still had to apply, along with additional “Continued Stay” criteria.

       31.     These requirements were far more restrictive than generally accepted standards of

medical practice. For example, Anthem’s Clinical UM Guideline CG-BEH-03 only provided

coverage for residential mental health treatment if a member presented with high-risk behaviors

reflecting deterioration from a “usual status,” ignoring that behavioral health disorders: (a) are

often chronic such that the “usual status” may itself be significantly compromised independently

of further deterioration; and (b) result in long-term, debilitating functional impairments rather than

transient risk of harm.

       32.     Additionally, Anthem’s Clinical UM Guideline CG-BEH-03 affirmatively required

members’ social environments to temporarily undermine outpatient treatment. While generally




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accepted standards of medical practice require a multidimensional consideration of the social

environment, generally accepted standards of medical practice do not condition residential mental

health treatment on the social environment being compromised. In other words, while the presence

of (temporary or long-term) recovery-undermining environmental factors can favor residential

admission, the absence of a recovery-undermining social environment most certainly does not

disqualify residential treatment (which may be warranted for reasons, such as chronic functional

impairment, that are not directly attributed to the social environment).

        33.     Furthermore, while generally accepted standards of medical practice do not place

artificial time limits on residential mental health treatment, particularly for chronic and refractory

conditions, Clinical UM Guideline CG-BEH-03 improperly limited coverage for such care to a

short term dose—irrespective of actual clinical need.

        34.     Moreover, Clinical UM Guideline CG-BEH-03 conditioned residential treatment

on weekly evaluations by clinical providers with prescriptive authority, irrespective of whether

patients’ mental health conditions (such as impulse-control and oppositional/conduct disorders)

were even amenable to treatment with medications. This all but ensured denials for residential

treatment coverage for members who required sustained behavioral (rather than pharmaceutical)

interventions at the residential level of care.

        35.     Notably, Anthem’s Clinical UM Guideline CG-BEH-03 did not account at all for

the presence or impact of medical, psychiatric, substance-related, or developmental comorbidities,

and did not contain any separate coverage criteria for children/adolescents and adults, despite

developmental differences between the groups clearly warranting such consideration.

        36.     To make matters worse, Anthem’s Clinical UM Guideline CG-BEH-03 compounds

these critical departures from generally accepted standards of medical practice by incorporating




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them into a static decision tree (e.g., each criterion must be independently satisfied) that lacks

nuanced, holistic factors that must be considered individually and in the aggregate. For example,

risk of self-harm that is neither severe nor imminent may be impacted by a treatment-undermining

social environment, lack of resilience, or lack of prior treatment response to warrant residential

treatment, while serious functional impairment may independently warrant residential admission

independently of additional multi-dimensional considerations.

V.     The MCG RTC Guidelines Are Inconsistent with Generally Accepted
       Standards of Medical Practice

       37.     MCG, a for-profit publisher, develops behavioral health guidelines that it licenses

to benefit administrators, including Defendants, with the express purpose and intention that benefit

administrators will rely upon them to make medical necessity determinations under welfare benefit

plans, including plans governed by ERISA.

       38.     MCG describes its service as creating “care guidelines” to “provide fast access to

evidence-based medicine’s best practices and care plan tools across the continuum of treatment,

providing clinical decision support and documentation which enables efficient transitions between

care settings.” See https://www.mcg.com/about/company-overview/. The MCG behavioral health

guidelines themselves, however, are not publicly accessible.

       39.     Like Anthem’s Clinical UM Guideline CG-BEH-03, the MCG RTC Guidelines

include footnote citations to peer-reviewed medical literature and physician specialty society

recommendations that purportedly “support” their criteria. Like Anthem’s criteria, however, the

annually-revised MCG RTC Guidelines have been inconsistent with the primary sources on which

they purport to rely and have distorted the generally accepted standards of medical practice for the

treatment of behavioral health disorders, as explained below.

       40.     Nonetheless, effective November 5, 2018, Anthem, Inc. authorized company-wide



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use of the MCG RTC Guidelines, which Anthem UM thereafter has systematically applied to make

medical necessity determinations under the Plaintiffs’ and class members’ benefit plans.

          41.   Since November 5, 2018, Defendants authorized and applied the 22nd edition and

the virtually identical, subsequent 23rd edition of the MCG RTC Guidelines. At all times relevant

to this Complaint, the applicable version of the MCG RTC Guidelines was inconsistent with

generally accepted standards of medical practice.

          42.   As a threshold matter, the MCG RTC Guidelines assert that “[s]ymptoms or

conditions used to determine the appropriate treatment intensity should be due to the underlying

behavioral health diagnosis or represent factors that contribute to destabilization of the underlying

diagnosis, and are acute in nature or represent a significant worsening over baseline” (emphasis

added). Thereafter, the MCG RTC Guidelines specify that, to be medically necessary upon

admission, residential treatment must satisfy a number of threshold conditions, all of which must

be met:

                (a)     First, patient risk or severity of behavioral health disorder is appropriate to

                proposed level of care as indicated by 1 or more of the following: (1) danger to self;

                (2) danger to others; or (3) a behavioral health disorder is present and appropriate

                for residential care with ALL of the following: (a) moderately severe psychiatric,

                behavioral, or other comorbid conditions for adult and (b) serious dysfunction in

                daily living.

                (b)     Second, all of the following must be true (in addition to other requirements):

                (1) treatment at a lower level of care is not “feasible”; (2) “[v]ery short-term crisis

                intervention and resource planning for continued treatment at a nonresidential level

                is unavailable or inappropriate”; (3) “[p]atient is willing to participate in treatment




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               within highly structured setting voluntarily”; and (4) “biopsychosocial stressors

               have been assessed and are absent or manageable at proposed level of care”


(emphasis added).

       43.     These requirements are inconsistent with generally accepted standards of medical

practice and are contradicted by the primary sources on which the MCG Guideline purports to rely

(e.g., LOCUS). For example, contrary to generally accepted standards of medical practice, the

MCG RTC Guidelines necessitate that risk of harm and/or functional impairment be “acute” and/or

“represent significant worsening over baseline,” effectively ruling out coverage for residential

treatment for anyone with long-standing risk of harm and/or chronic functional impairments that

would benefit from such care and not be expected to improve with outpatient treatment.

       44.     Even if patients meet the unjustifiably stringent acuity thresholds described above,

the MCG RTC Guidelines provide that residential treatment is not medically necessary if treatment

at a lower level of care is “feasible.” As described above, however, under generally accepted

standards of medical practice, treatment at a less intensive level of care must be “as effective” as

the more intensive level of care—not merely “feasible.”

       45.     The MCG RTC Guidelines’ stringent criteria also require that “very short-term

crisis intervention” at a non-residential level be unavailable or inappropriate—thus cementing that

care at a residential level is expected to be for “very short-term crisis intervention.” This

requirement is inconsistent with generally accepted standards of medical practice, which do not

restrict residential treatment to “crisis intervention” and which do not limit residential treatment to

artificially predetermined durations, let alone to “very short-term” stays.

       46.     The MCG RTC Guidelines also improperly limit the scope and duration of

residential treatment by providing that biopsychosocial stressors—which, according to MCG,



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include comorbid conditions—need only be “manageable” at the proposed level of care, thus

setting the expectation that “management” of comorbid conditions is all that is required. Generally

accepted standards of medical practice, however, recognize that biopsychosocial stressors, if

present, must be “effectively treated”—not merely “managed.”

        47.     Furthermore, to meet medical necessity under the MCG RTC Guidelines, patients

must be “willing” to participate in treatment in a highly structured setting “voluntarily.” This

criterion, too, is inconsistent with generally accepted standards of medical practice, which

recognize that a lack of motivation for treatment may necessitate higher levels of care and that

treatment might not be sought at one’s own initiative (e.g., a court, conservator, or guardian may

demand or require it).

        48.     At the same time as the MCG RTC Guidelines unjustifiably restrict admission to

residential treatment, they generously allow for discontinuation of such care as soon as risk of

harm, functional impairments, and comorbidities can be “managed”—rather than “effectively

treated”—at lower levels. As discussed above, under generally accepted standards of medical

practice, treatment at a less intensive level of care is warranted only if it is just as effective as the

more intensive level of care. Superficially “managing” a patient’s condition is not sufficient.

        49.     Like Anthem’s Clinical UM Guideline CG-BEH-03, the MCG RTC Guideline

compounds these fatal departures from generally accepted standards of medical practice by

incorporating them into a static decision tree (e.g., each criterion must be independently satisfied)

that lacks nuanced, holistic factors that must be considered individually and in the aggregate. For

example, the MCG RTC Guideline improperly conditions admission to residential treatment on

the presence of both comorbidities and serious functional impairments, despite either being

sufficient to warrant residential treatment pursuant to generally accepted standards of medical




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practice.

       50.     In sum, on their face, the MCG RTC Guidelines provide that residential behavioral

health treatment is only medically necessary for crisis stabilization or other circumstances in which

a patient is suffering from acute symptoms. As such, the MCG RTC Guidelines are much more

restrictive than generally accepted standards of medical practice, which recognize that persistent

and/or pervasive behavioral health disorders cannot necessarily be as effectively treated on a short-

term and/or outpatient basis as they could be in residential care and that determining appropriate

treatment requires a much broader and more interconnected assessment of factors.

VI.    Anthem’s Adoption and Use of the MCG RTC Guidelines Violate
       MHPAEA

       51.     MHPAEA, codified at 29 U.S.C. § 1185a, amended ERISA to prohibit

discrimination with respect to mental health and substance use disorder benefits. Because the

parity provisions were inserted into ERISA, they are enforceable through ERISA’s enforcement

provision, 29 U.S.C. § 1132.

       52.      Since the addition of the parity provisions, ERISA requires any group health plan

(like the Plaintiffs’ Plans), which “provides both medical and surgical benefits and mental health

or substance use disorder benefits,” to ensure that, among other things:

               (ii) the treatment limitations applicable to such mental health or
               substance use disorder benefits are no more restrictive than the
               predominant treatment limitations applied to substantially all
               medical and surgical benefits covered by the plan (or coverage) and
               there are no separate treatment limitations that are applicable only
               with respect to mental health or substance use disorder benefits.

       53.     MHPAEA’s implementing regulations explain that “treatment limitations,” which

limit the scope or duration of benefits for treatment, may be quantitative (a “QTL”), i.e., expressed

numerically, or non-quantitative (an “NQTL”). The regulations prohibit the imposition of an

NQTL on behavioral health benefits unless, as written and in operation, the processes, strategies,


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evidentiary standards, and other factors used in applying the NQTL to behavioral benefits are

comparable to, and are applied no more stringently than, those used in applying the NQTL with

respect to medical/surgical benefits in the same classification. The regulations expressly provide

that medical necessity standards are NQTLs. The MCG RTC Guidelines, therefore, constitute an

NQTL, as defined by the regulations.

       54.     In addition to licensing the MCG guidelines applicable to behavioral health,

Anthem also licenses and uses MCG guidelines applicable to medical/surgical services, including

those providing criteria for “Inpatient & Surgical Care,” “General Recovery Care,” “Recovery

Facility Care,” and “Chronic Care.”

       55.     As MCG admitted in a 2017 white paper, MCG views intermediate levels of care

(including residential treatment) for behavioral health conditions very differently from

intermediate levels of care for medical/surgical conditions:

       While inpatient and outpatient levels of care are common to both [mental health
       and substance use disorder (“MHSUD”) benefits] and physical health conditions,
       there is a divergence in how intermediate levels of care (e.g., services less intensive
       than would be available in an inpatient hospital setting, but more expansive than
       care that could be provided in most outpatient clinics) are managed.

       . . . Intermediate levels of care for medical/surgical conditions are designed to
       improve functional status among people with impairments that, while potentially
       significant, generally are not acute, and are not offered as alternatives to
       inpatient admission. As an example, the presence of an acute pulmonary infection,
       such as pneumonia, likely would lead to a denial of admission to a pulmonary
       rehabilitation program [an intermediate level of care].

       In contrast, intermediate levels of care for MHSUDs are designed to support acute
       management of patients with MHSUDs. They often service as alternative to
       inpatient care, and are intended to have the ability address acute symptoms or
       provide crisis stabilization . . . .

“Mental Health Parity: Where Have We Come From? Where Are We Now?,” available at

https://www.ahip.org/wp-content/uploads/2017/06/MCG-White-Paper-Mental-Health-Parity.pdf




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(emphasis added).

       56.     As the MCG white paper demonstrates, MCG takes the position that while

intermediate care for medical/surgical services is designed to address sub-acute conditions in order

to improve functional status, intermediate care for behavioral health services is only intended “to

support acute management” and to “address acute symptoms or provide crisis stabilization.”

       57.     For most of the class period, MCG’s website also reflected its view that residential

treatment is only available for “acute” behavioral health conditions. Until at least October 30,

2019, MCG publicly touted a set of “Level of Care Comparison Charts” that “allow[ed] a side by

side comparison of behavioral health level of care criteria” to “facilitate placement decisions for

behavioral health levels of care.” As MCG’s own description of its chart made clear, MCG

recognizes only “5 levels of care” for behavioral health treatment: “inpatient, acute residential,

partial hospital, intensive outpatient, and acute outpatient care” (emphasis added).

       58.     After being named in a lawsuit challenging its acuity-focused guidelines, MCG

scrubbed its website to remove references to “acute” RTC and “acute” outpatient services. That

cosmetic change, however, does not alter the fact that the MCG RTC Guidelines themselves are

improperly acute-focused and otherwise in conflict with generally accepted standards of medical

practice, as detailed herein.

       59.     Consistent with the views MCG expressed in its 2017 white paper that intermediate

care for behavioral health services is intended “to support acute management” and to “address

acute symptoms or provide crisis stabilization,” the MCG RTC Guidelines condition coverage of

residential treatment for mental health conditions on the presence of acute factors.

       60.     On information and belief, the MCG Guidelines for intermediate care of medical

and surgical conditions, including its guidelines for “Recovery Facility Care,” similarly reflect




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MCG’s stated view that intermediate care for medical/surgical services is designed to address sub-

acute conditions in order to improve functional status—meaning that, unlike the MCG RTC

Guidelines, the medical/surgical guidelines do not condition coverage on the presence of acute

factors.

           61.    Defendants’ adoption and use of the MCG RTC Guidelines thus constitute the

application of treatment limitation(s) to inpatient (intermediate) mental health and substance use

disorder benefits that are “separate” and/or “more restrictive” than Defendants’ treatment

limitation(s) for inpatient (intermediate) medical/surgical benefits. Under the MCG RTC

Guidelines, moreover, medical necessity determinations for inpatient (intermediate) mental health

and substance use disorder services use factors that are not comparable to, or used the same way

as, factors in determining medical necessity for inpatient (intermediate) medical/surgical services,

including acuity. For these reasons, Defendants’ adoption and use of the MCG RTC Guidelines

violate MHPAEA.

VII.       Financial Considerations Have Infected Defendants’ Decision to
           Develop, Adopt, and Use Clinical UM Guideline CG-BEH-03 and the
           MCG RTC Guidelines

           62.    Defendants have tremendous financial incentives to artificially suppress behavioral

health costs by restricting coverage for treatment of chronic behavioral health conditions.

           63.    Anthem, Inc.’s wholly-owned subsidiaries, and ultimately Anthem, Inc. itself,

make money by charging fees for their services, including behavioral health claims administration:

                  (a)    For fully-insured plans, Anthem, Inc.’s subsidiaries charge a premium, from

           which all benefits approved by Anthem UM are paid. Anthem, Inc.’s subsidiaries, and

           ultimately Anthem, Inc., therefore, bear the risk that benefit reimbursements will exceed

           the fixed premiums and/or any per-member, per-month rates that they allocate for

           behavioral health expenditures.


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                 (b)    For self-funded plans, Anthem, Inc.’s subsidiaries are paid an

       administrative fee and the employers, as the plan sponsors, pay the medical expenses that

       Anthem UM approves. To mitigate this risk, Anthem’s employer customers typically pair

       such an administrative-services only plan with a stop-loss policy, pursuant to which

       Anthem bears the risk of paying approved claims in excess of a specified amount.

       Defendants thus not only have an incentive to reduce medical expenses in order to retain

       business and market their services as “cost-effective,” they also bear risk directly in much

       the same way as they do with respect to fully-insured plans. Indeed, because Defendants

       administer both fully-insured and self-funded plans, and those plans often contain identical

       terms (e.g,, the definition of medical necessity or generally accepted standards),

       Defendants’ financial self-interest vis-à-vis administration of fully-insured plans also

       infects their administration of self-funded plans. After all, Defendants know that they could

       not possibly justify interpreting identical words in two different plans to mean different

       things.

       64.       By developing, adopting, and applying Clinical UM Guideline CG-BEH-03 and the

MCG RTC Guidelines as their interpretations of the terms of the plans they administer, Defendants

narrowed the scope of coverage otherwise available under the terms of those plans, decreased the

number and value of covered claims, and shifted some of the risk from themselves and their

employer-customers to the participants and beneficiaries of the plans.

       65.       Residential treatment, though widely recognized as a critical component in the

behavioral health continuum of care, can be quite expensive. Avoiding benefit expense associated

with providing coverage for residential treatment, therefore, directly benefitted Defendants’

bottom line.




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       66.     On information and belief, these financial incentives have infected the development

and company-wide adoption (i.e., for use in administering benefits under both fully-insured and

self-funded plans) of Clinical UM Guideline CG-BEH-03 and the company-wide adoption of the

MCG RTC Guidelines at issue herein, since these guidelines are the primary clinical tools

Defendants use to ration access to behavioral healthcare, including expensive residential treatment,

and thereby artificially reduce medical expense.

VIII. Defendants Used their Defective Guidelines to Deny Benefits to
      Plaintiffs in Contravention of Their Plans’ Written Terms

       67.     As Defendants’ denial letters reflect, Anthem UM denied residential mental health

treatment coverage for Plaintiff Burnett’s son and for Plaintiff Marissa Collins based on,

respectively, Clinical UM Guideline CG-BEH-03 and the MCG RTC Guideline – i.e., acuity-

driven, treatment-undermining criteria that are inconsistent with the “generally accepted standards

of medical practice” required by Plaintiffs’ Plans. Prior to issuing these denial letters, while

Plaintiffs were beneficiaries and participants of their respective Plans, Defendants developed

and/or adopted these defective guidelines, which constituted Defendants’ interpretation of the

terms of the Collins and Burnett Plans from the time the guidelines were adopted through their

final denials of Plaintiffs’ requests for coverage of residential mental health treatment.

       68.     Defendants’ development and adoption of the guidelines thus narrowed the scope

of coverage available under Plaintiffs’ Plans and shifted risk that otherwise would have been borne

by Plaintiffs’ Plans directly to Plaintiffs, thereby making their benefits less valuable.

       69.     Plaintiff Burnett’s young adult son suffers from, among other conditions, major

depression, multiple anxiety disorders, and cannabis use disorder. On September 26, 2018,

Plaintiff Burnett’s son was admitted for residential treatment of his mental health conditions at

Sierra Tucscon, an in-network facility. He remained in residential treatment and incurred



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unreimbursed expenses until October 22, 2018. Through Sierra Tuscon, Plaintiff Burnett’s son

timely requested coverage for his residential treatment.

       70.     By letter dated September 27, 2018, Plaintiff Burnett’s son was informed that his

preauthorization claim was “reviewed for your plan by Anthem UM Services, Inc.” The letter

explained that Plaintiff Burnett’s son’s request for coverage was denied on the ground that

residential treatment was not medically necessary. Anthem UM based its determination on Clinical

UM Guideline CG-BEH-03. Following his discharge, Plaintiff, on behalf of his son, submitted a

timely post-service appeal.

       71.     By letter dated May 7, 2019, Plaintiff Burnett’s son was informed that his appeal

was reviewed by Anthem UM The letter explained that Plaintiff Burnett’s son’s appeal was denied

on the ground that residential treatment was not medically necessary. Anthem UM again based its

determination on Clinical UM Guideline CG-BEH-03. Because the first Burnett Plan mandated

only one level of internal appeal, Plaintiff Burnett’s son exhausted his administrative remedies

with respect to his RTC services at Sierra Tucson.

       72.     Plaintiff Collins suffers from, among other conditions, major depression and PTSD.

On August 27, 2019, Plaintiff Collins was admitted for residential treatment of her mental health

conditions at Rogers Memorial Hospital (“Rogers”), an in-network facility. She remained in

residential treatment and incurred unreimbursed expenses until September 24, 2019. Through

Rogers, Plaintiff Collins timely requested coverage for her residential treatment.

       73.     By letter dated August 28, 2019, Plaintiff Collins was informed that her

preauthorization claim was “reviewed for your plan by Anthem UM Services, Inc.” The letter

explained Plaintiff Collins’ request for coverage was denied on the ground that residential




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treatment was not medically necessary. Anthem UM based its determination on the MCG RTC

Guidelines. Rogers submitted an urgent appeal of the denial the next day.

       74.     By letter dated August 30, 2019, Plaintiff Collins’ was informed that her appeal

was “reviewed for your plan by Anthem UM Services, Inc.” The letter explained that Plaintiff

Collins’ appeal was denied on the ground that the residential treatment was not medically

necessary. Anthem UM Services, Inc. again based its determination on the MCG RTC Guidelines

in its “final adverse determination.”

       75.     Following Plaintiff Collins’ discharge, Rogers submitted a post-service appeal

seeking coverage for Plaintiff Collins’ residential treatment. By letter dated December 27, 2019,

Rogers was informed that the post-service appeal was “reviewed for your plan by Anthem UM

Services, Inc.” The letter explained that the post-service appeal was denied on the ground that the

residential treatment was not medically necessary. Again, Anthem UM based its determination on

the MCG RTC Guidelines in its “final adverse determination.”

       76.     Plaintiff Collins, therefore, also exhausted her administrative remedies with respect

to Anthem’s denial of coverage for her RTC services.

                              CLASS ACTION ALLEGATIONS

       77.     Plaintiffs incorporate by reference the preceding paragraphs as though such

paragraphs were fully stated herein.

       78.     The policies and practices that Defendants followed with respect to the benefit

claims filed by Plaintiffs are the same as those that have been applied by Defendants to other

similarly-situated insureds seeking coverage under their health plans for residential behavioral

health treatment, including Defendants’ development and use of Clinical UM Guideline CG-BEH-




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03 and subsequent adoption and use of the MCG RTC Guidelines, both of which contained

excessively restrictive medical necessity criteria.

       79.     As such, pursuant to Federal Rule of Civil Procedure 23, Plaintiffs brings each of

their claims, set forth in the counts below, on behalf of the following class (“Class”) of similarly-

situated individuals:

       Any member of a health benefit plan governed by ERISA whose request for
       coverage of residential treatment services for a behavioral health disorder was
       denied by Anthem UM Services, Inc., in whole or in part, within the applicable
       statute of limitations, based on Clinical UM Guideline CG-BEH-03 or the MCG
       Guidelines for Residential Behavioral Health Level of Care.

       80.     The members of the Class can be objectively ascertained through the use of

information contained in Defendants’ files because Defendants know who their insureds are, which

plans they are insured by, what type of claims they have filed, and how those claims were

adjudicated.

       81.     Upon information and belief, there are so many persons within the putative class

that joinder is impracticable. While Plaintiffs do not have access to the identity of the putative

class members, such information is within the possession and control of Defendants.

       82.     Certification of the Class is desirable and proper because there are questions of law

and fact in this case that are common to all members of the Class. Such common questions of law

and fact include, but are not limited to: (a) whether Clinical UM Guideline CG-BEH-03 and the

MCG RTC Guidelines are consistent with generally accepted standards of medical practice; (b)

whether Defendants breached their fiduciary duties when they developed and/or adopted Clinical

UM Guideline CG-BEH-03 and the MCG RTC Guidelines; (c) whether Defendants violated

MHPAEA by adopting and applying the MCG RTC Guidelines for making coverage decisions

relating to behavioral health conditions; (d) whether Anthem UM breached its fiduciary duties




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when it applied Clinical UM Guideline CG-BEH-03 and the MCG RTC Guidelines to deny

requests for benefits for residential treatment; (e) whether Anthem UM’s use of Clinical UM

Guideline CG-BEH-03 and the MCG RTC Guidelines to deny requests for benefits for residential

treatment of behavioral health disorders violated the terms of the class members’ plans; (f) whether

Anthem, Inc. violated its duties as a co-fiduciary under ERISA due to its failure to make reasonable

efforts to remedy the breaches of fiduciary duty by Anthem UM, and (g) what remedies are

available to the Class.

       83.     Certification is desirable and proper because the Plaintiffs’ claims are typical of the

claims of the members of the Class Plaintiffs seek to represent.

       84.     Certification is also desirable and proper because the Plaintiffs will fairly and

adequately protect the interests of the Class they seek to represent. There are no conflicts between

the interests of the Plaintiffs and those of other members of the Class, and the Plaintiffs are

cognizant of their duties and responsibilities to the entire Class. Plaintiffs’ attorneys are qualified,

experienced and able to conduct the proposed class action litigation.

       85.     It is desirable to concentrate the litigation of these claims in this forum. The

determination of the claims of all class members in a single forum, and in a single proceeding

would be a fair and efficient means of resolving the issues in this litigation.

       86.     The difficulties likely to be encountered in the management of a class action in this

litigation are reasonably manageable, especially when weighed against the virtual impossibility of

affording adequate relief to the members of the Class through numerous separate actions.




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                                            COUNT I

                              Claim for Breach of Fiduciary Duty
                                  (against both Defendants)

       87.     Plaintiffs incorporate by reference the preceding paragraphs as though such

paragraphs were fully stated herein.

       88.     Plaintiff Collins brings this count on her own behalf and on behalf of the Class

pursuant to 29 U.S.C. § 1132(a)(1)(B). Plaintiff Burnett brings this count on behalf of his son as

his son’s agent and on behalf of the Class pursuant to 29 U.S.C. § 1132(a)(1)(B).

       89.     As explained above, both Defendants are responsible for interpreting the plans they

administer and developing and/or adopting policies and guidelines interpreting plan terms.

Defendant Anthem UM is also responsible for making final and binding decisions about whether

to approve coverage requested by plan members. As such, both Defendants exercise discretionary

authority with respect to the administration of the plans and the payment of plan benefits.

Defendants are therefore ERISA fiduciaries as defined by 29 U.S.C. §§ 1002(21)(A) and 1104(a).

       90.     As ERISA fiduciaries, and pursuant to 29 U.S.C. § 1104(a), Defendants have a duty

of loyalty to plan participants and beneficiaries which requires them to discharge their duties

“solely in the interests of the participants and beneficiaries” of the plans they administer and for

the “exclusive purpose” of providing benefits to participants and beneficiaries and paying

reasonable expenses of administering the plans. Defendants also owed plan participants and

beneficiaries a duty of care, which requires them to act with reasonable “care, skill, prudence, and

diligence” and in accordance with the terms of the plans, so long as such terms are consistent with

ERISA.

       91.     Defendants violated these duties by adopting Clinical UM Guideline CG-BEH-03

and the MCG RTC Guidelines discussed herein as their interpretation of terms in Plaintiffs’ Plans



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and the putative Class members’ plans. Despite the fact that the health insurance plans that insure

Plaintiffs and the Class members require medical necessity determinations concerning residential

behavioral health treatment to be made consistent with generally accepted standards of medical

practice, and the fact that generally accepted standards of medical practice are widely available

and well-known to Defendants, Defendants in fact created, selected and adopted clinical coverage

criteria that were far more restrictive than generally accepted standards of medical practice and, in

the case of the MCG RTC Guidelines, also more restrictive than the criteria Anthem has licensed

for medical/surgical conditions. In doing so, Defendants did not act “solely in the interests of the

participants and beneficiaries” for the “exclusive purpose” of “providing benefits.” They did not

use the “care, skill, prudence, and diligence” ERISA demands of fiduciaries. They did not act in

accordance with the terms of the Plaintiffs’ or the Class members’ plans.

       92.     Instead, Defendants elevated their own interests above the interests of the plan

participants and beneficiaries. By interpreting plan terms in this manner, Defendants artificially

decreased the scope of coverage available under the plans, thereby transferring risk from

themselves and their employer customers to the participants and beneficiaries of the plans and

severely limiting the availability of residential treatment services to Plaintiffs and the class

members. In so doing, Defendants harmed the Plaintiffs and the Class.

       93.     Moreover, as ERISA co-fiduciaries, each Defendant is liable under 29 U.S.C.

§ 1105(a) for the breaches of fiduciary duty attributable to the other Defendant. Both Defendants

were aware of each others’ breaches with respect to the creation, adoption, and use of the flawed

and overly restrictive coverage guidelines, and yet both failed to make reasonable efforts under the

circumstances to remedy those breaches.

       94.     Plaintiffs and the members of the Class seek the relief identified below to remedy




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this claim.

                                             COUNT II

                                   Unreasonable Benefit Denials
                                      (against Anthem UM)

        95.     Plaintiffs incorporate by reference the preceding paragraphs as though such

paragraphs were fully stated herein.

        96.     Plaintiff Collins brings this count on her own behalf and on behalf of the Class

pursuant to 29 U.S.C. § 1132(a)(1)(B). Plaintiff Burnett brings this count on his son’s behalf as

his son’s agent and on behalf of the Class pursuant to 29 U.S.C. § 1132(a)(1)(B).

        97.     Anthem UM denied the requests for coverage of residential treatment services

submitted by Plaintiffs and other members the Class using criteria that violated the terms of the

applicable plans. Defendant Anthem UM denied benefits to Plaintiffs and the class members, at

least in part, based on restrictive clinical coverage guidelines that it adopted in violation of its

fiduciary duties, as set forth above.

        98.     Moreover, Anthem UM violated MHPAEA, which is incorporated into ERISA, see

29 U.S.C. § 1185a, by applying the MCG RTC Guidelines to claims for residential treatment of

behavioral health conditions, because the MCG RTC Guidelines are more stringent than the MCG

guidelines Anthem uses for medical/surgical conditions in the same classification, both as written

and in operation.

        99.     Plaintiffs and the members of the Class were harmed by Defendant Anthem UM’s

improper benefit denials because Anthem UM denied their requests for benefits using clinical

coverage criteria that were inconsistent with the applicable plan terms and thus violated ERISA.

Defendant Anthem UM could not reasonably deny coverage to Plaintiffs or the class members

using such restrictive, plan-violating criteria.



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       100.    Plaintiffs and the members of the Class seek the relief identified below to remedy

this claim.

                                            COUNT III

                                   Claim for Injunctive Relief
                                   (against both Defendants)

       101.    Plaintiffs incorporate by reference the preceding paragraphs as though such

paragraphs were fully stated herein.

       102.    Plaintiff Collins brings this count on her own behalf and on behalf of the Class,

pursuant to 29 U.S.C. § 1132(a)(3)(A), only to the extent that the Court finds that the injunctive

relief available pursuant to 29 U.S.C. § 1132(a)(1)(B) is inadequate to remedy the violations

alleged in Counts I and/or II. Plaintiff Burnett brings this count on his son’s behalf as his son’s

agent and on behalf of the Class, pursuant to 29 U.S.C. § 1132(a)(3)(A), only to the extent that the

Court finds that the injunctive relief available pursuant to 29 U.S.C. § 1132(a)(1)(B) is inadequate

to remedy the violations alleged in Counts I and/or II.

       103.    Plaintiffs and the Class have been harmed, and are likely to be harmed in the future,

by Defendants’ breaches of fiduciary duty and/or violations of ERISA described above.

       104.    In order to prevent Defendants’ ongoing violations of ERISA and the applicable

plans, and the harm those violations cause, Plaintiffs and the Class are entitled to enjoin these acts

and practices pursuant to 29 U.S.C. § 1132(a)(3)(A).




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                                           COUNT IV

                        Claim for Other Appropriate Equitable Relief
                                  (against both Defendants)

       105.    Plaintiffs incorporate by reference the preceding paragraphs as though such

paragraphs were fully stated herein.

       106.    Plaintiff Collins brings this count on her own behalf and on behalf of the Class

pursuant to 29 U.S.C. § 1132(a)(3)(B) only to the extent that the Court finds that the equitable

relief available pursuant to 29 U.S.C. § 1132(a)(1)(B) is inadequate to remedy the violations

alleged in Counts I and/or II. Plaintiff Burnett brings this count on his son’s behalf as his son’s

agent and on behalf of the Class pursuant to 29 U.S.C. § 1132(a)(3)(B) only to the extent that the

Court finds that the equitable relief available pursuant to 29 U.S.C. § 1132(a)(1)(B) is inadequate

to remedy the violations alleged in Counts I and/or II.

       107.    Plaintiffs and the Class have been harmed, and are likely to be harmed in the future,

by Defendants’ breaches of fiduciary duty and/or violations of ERISA described above.

       108.    In order to completely and adequately remedy these harms, Plaintiffs and the Class

are entitled to appropriate equitable relief pursuant to 29 U.S.C. § 1132(a)(3)(B).

                                       REQUESTED RELIEF

       WHEREFORE, Plaintiffs demand judgment in their favor against Defendants as follows:

       A.      Certifying the Class and their claims, as set forth in this Complaint, for class

treatment;

       B.      Appointing the Plaintiffs as Class Representative for the Class;

       C.      Designating Zuckerman Spaeder LLP and Psych-Appeal, Inc. as Class Counsel;

       D.      Declaring that Clinical UM Guideline CG-BEH-03 and the MCG RTC Guidelines

used by Defendants were inconsistent with generally accepted standards of medical practice;



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       E.      Declaring that Defendants’ use of the MCG RTC Guidelines to make coverage

determinations with respect to behavioral health conditions violates MHPAEA;

       F.      Issuing a permanent injunction ordering Defendants to stop using Clinical UM

Guideline CG-BEH-03 and the MCG RTC Guidelines complained of herein, and instead to adopt

or develop and use clinical coverage guidelines that are consistent with generally accepted

standards of medical practice;

       G.      Ordering Anthem UM to reprocess the claims for residential behavioral health

treatment that it previously denied (in whole or in part) under Clinical UM Guideline CG-BEH-03

and the MCG RTC Guidelines or any other MCG Guidelines containing the same restrictive

criteria, pursuant to new guidelines that are consistent with generally accepted standards of

medical practice;

       H.      Awarding other appropriate equitable relief, including but not necessarily limited

to additional declaratory and injunctive relief;

       I.      Awarding Plaintiffs’ disbursements and expenses for this action, including

reasonable counsel and expert fees, in amounts to be determined by the Court, pursuant to 29

U.S.C. § 1132(g); and

       J.      Granting such other and further relief as is just and proper.


Dated: April 29, 2020                                   Respectfully submitted,

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